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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 GASPAR PEDROSA and                              §
 GEMA PEDROSA,                                   §
                                                 §
        Plaintiffs,                              §
                                                 §
 v.                                              §     CIVIL ACTION NO.
                                                 §     4:23-cv-02463
 AVT TITLE SERVICES, LLC,                        §
 POWER DEFAULT SERVICES, INC.,                   §
 PHH MORTGAGE CORPORATION,                       §
 and U.S. BANK, NATIONAL                         §
 ASSOCIATION, AS TRUSTEE FOR                     §
 MORTGAGE PASS-THROUGH                           §
 CERTIFICATES 1998-R1,                           §
                                                 §
        Defendants.                              §


              STATEMENT OF INFORMATION IN A REMOVED ACTION


       Pursuant to the Court’s Order in Removed Action (Doc. 8), Defendants PHH Mortgage

Corporation (“PHH”) and U.S. Bank National Association, as Trustee for Mortgage Pass-Through

Certificates 1998-R1 (“U.S. Bank”) (collectively, “Defendants”) file this Statement of Information in

a Removed Action, respectfully stating as follows:

       1.     State the date(s) on which defendant(s) or their representative(s) first received
a copy of the summons and complaint in the removed state court action. If different, the
date on which each defendant was served with a copy of the summons and complaint.

       RESPONSE: PHH was served with a citation and a copy of the Petition on June 27, 2023.

       PHH believes that AVT Title Services, LLC (“AVT”) was served on June 30, 2023. Upon

       information and belief, Defendants U.S. Bank and Power Default Services, Inc. (“PDS”),

       have not been properly served with a citation and a copy of the Petition in this matter.




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       2.      In actions removed based on diversity jurisdiction, list the citizenship of all
parties, including the citizenship of each member of a partnership or other type of business
association such as LLCs and LLPs. Specifically identify whether any defendants who have
been served are citizens of Texas.

       RESPONSE: Plaintiffs are natural persons and have claimed Fort Bend County, Texas,

       as their residence and domicile. Accordingly, Plaintiffs are citizens of Texas for diversity

       purposes. PHH is a New Jersey corporation with its principal place of business in New

       Jersey. Therefore, PHH is a citizen of New Jersey for diversity purposes.

              Plaintiffs state that AVT is a Texas corporation and PDS is a Delaware corporation,

       however, their citizenship should be disregarded because they have been improperly

       joined. See Great Plains Trust Co. v. Morgan Stanley Dean Witter & Co., 313 F.3d 305,

       313 (5th Cir. 2002).

              With respect to trustee Defendant U.S. Bank, the citizenship of the trustee controls

       the citizenship of the trust for diversity purposes. See Wells Fargo Bank, N.A. v. Am. Gen.

       Life Ins. Co., 670 F. Supp. 2d 555, 561 (N.D. Tex. 2009). As a national banking association

       organized under federal law, U.S. Bank, for diversity purposes, “is a citizen of the State in

       which its office, as set forth in its Articles of Association, is located.” Wachovia Bank, N.A.

       v. Schmidt, 546 U.S. 202, 307 (2006). U.S. Bank’s main office is located in Ohio.

       Therefore, U.S. Bank is a citizen of Ohio for diversity purposes, and consequently the trust

       is a citizen of Ohio for diversity purposes. Therefore, all properly joined and served

       Defendants are not citizens of Texas.

      3.     In actions removed based on diversity jurisdiction, state the amount alleged in
controversy and the basis for this amount.

       RESPONSE: The amount alleged in controversy is likely in excess of $164,870, which is

       the most recent tax assessed value of the subject property. The amount in controversy in

       an action for injunctive relief “Is the value of the right to be protected or the extent of the

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        injury to be prevented.” St. Paul Reins. Co. v. Greenberg, 134 F.3d 1250, 1252-53 (5th Cir.

        1998). When the right to property is at issue, courts look to the value of the property to

        determine whether the minimum amount in controversy has been met for jurisdictional

        purposes. Farkas v. GMAC Mortgage, LLC, 737 F.3d 338, 341 (5th Cir. 2013) (“In actions

        enjoining a lender from transferring property and preserving an individual’s ownership

        interest, it is the property itself that is the object of the litigation; the value of that property

        represents the amount in controversy.”)

        4.      In actions removed based on diversity jurisdiction pending more than one year
in state court, specify why the case should not be summarily remanded.

        RESPONSE: Not applicable.

        5.      Identify any defendant that did not join in the notice of removal and explain
why.

        RESPONSE: Defendant Power Default Services did not join the notice of removal

        because it has not been properly served or made an appearance in this case. Defendant

        AVT did not join the removal, as it had not made an appearance in this case at the time of

        removal. Both were improperly joined and, therefore, their joinder is not needed.

Dated August 7, 2023                           Respectfully submitted,


                                               LOCKE LORD LLP

                                               /s/ Camille Griffith
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                                          ATTORNEYS FOR DEFENDANTS
                                          PHH MORTGAGE CORPORATION AND
                                          U.S. BANK, NATIONAL ASSOCIATION, AS
                                          TRUSTEE FOR MORTGAGE PASS-THROUGH
                                          CERTIFICATES 1998-R1


                               CERTIFICATE OF SERVICE

        The undersigned further certifies that on August 7, 2023, a true and correct copy of the
 foregoing document was delivered to the parties as indicated below:

Via CM/ECF                                       Via U.S. Mail
Carl Mann                                        AVT Title Services, LLC
Carl Mann Law                                    14160 Dallas Parkway, Suite 900
4925 Cedar Street                                Dallas, Texas 75254
Bellaire, Texas 77401
carlmannlaw@yahoo.com
Attorney for Plaintiffs

Via U.S. Mail
Power Default Services, Inc.
c/o Corporation Service Company
211 E. 7th Street, Suite 620
Austin, Texas 78701

                                            /s/ Camille Griffith
                                            Camille Griffith
                                            Counsel for PHH Mortgage Corporation and
                                            U.S. Bank, National Association, as Trustee for
                                            Mortgage Pass-Through Certificates 1998-R1




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